           Page: 2 of 4                 2025-03-28 21 :32:06 GMT                    18667661678                   From: Matthew Oppenhei
                Case 1:25-cv-01305-CM              Document 31            Filed 04/11/25            Page 1 of 3



IN THE UNITED STATES DISTRICT COURT                                   ·----                     ------
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FOR THE SOUTHERN DISTRICT OF NEW YORK
                                                                        nocm,rn:r,rr
                                                                        ELECTR01 T;C.
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Advance Local Media LLC, et al.,
                                                                        i~~~_/_~_1_L_13._D_:_   1J/ t;,,,,t,
                Plaintiffs,
                                                                   25 Civ. 1305 (CM) (SN)
                v.

Cohere, Inc.,

                Defendant.
- - - - - - - - - - - - -- - - -- -X

                                       CTVTL CA SE MANAGEMENT PLAN
                              (For all cases except those exempt per Individual Rules)

    McMahon, J.:

     l.     This case is to be tried to a jury.

    2.      Defendant has agreed to waive service. Accordingly, Defendant's response to the
            Complaint shall be filed by May 22, 2025. In the event Defendant files a responsive
            motion, Plaintiffs shall file their opposition or response by July 2, 2025. Any reply papers
            must be filed by July 25, 2025.

    3.      Discovery pursuant to Fed. R. Civ. P. 26(a) shall be exchanged by May 29, 2025.
    4.      No additional parties may be joined after September 15, 2025.

    5.      No pleading may be amended after September 15, 2025. Notwithstanding the foregoing,
            solely to update the works and marks in suit Plaintiffs may file an amended complaint by
            December 1, 2025.

    6.      If your case is brought pursuant to 42 U.S.C. § 1983: In keeping with the United States
    Supreme Court's observation that the issue of qualified inummity should be decided before
    discovery is conducted, counsel representing any defendant who intends to claim qualified
    immunity must comply with the special procedure set forth in Judge McMahon's individual
    rules, which can be found at www.nysd.uscourts.gov.

            Failure to proceed in accordance with the qualified immunity rules constitutes a waiver
    of the right to move for judgment on the ground of qualified immunity prior to trial.

    7.     All discovery, including expert discovery, must be completed on or before
    July 24, 2026, with fact discovery concluding on or before February 27, 2026.

                 a. For personal injury, civil rights, employment discrimination or medical
               Page: 3 of 4                 2025-03-28 21 :32:06 GMT                 18667661678                 From: Matthew Oppenhei
                   Case 1:25-cv-01305-CM               Document 31           Filed 04/11/25        Page 2 of 3



                          malpractice cases only: Plaintiffs deposition shall be taken first, and shall be
                          completed by

                     b. PLEASE NOTE: the phrase "all discovery, including expert discovery" means
                        that the parties must select and disclose their experts' identities and opinions, as
                        requ ired by Fed. R. Civ. P. 26(a)(2)(B), well before the expiration of the
                        discovery period. Expert disclosures conforming with Rule 26 must be made no
                        later than the following dates:

                               1.   Opening Expert Reports by March 27, 2026. 1
                              11.   Rebuttal Expert Reports by May 8, 2026.

       8.      Judge McMahon's rules governing electronic discovery are automatically in force in this
       case. The parties must comply with those rules unless they supersede it with a consent order. The
       text of the order wi ll be found at www.nysd.uscourts.gov.

       9.     Discovery disputes in this case wi ll be resolved by the assigned Magistrate Judge,
       who is Chief Magistrate Judge Sarah Netburn.

                     a.   The frrst time there is a discovery dispute that counsel cannot resolve on their
                          own, file a letter to Chambers via ECF and ask for an order of reference to the
                          Magistrate Judge for discovery supervision. Thereafter, go directly to the
                          Magistrate Judge for resolution of discovery disputes; do not contact Judge
                          McMahon.

                     b. Discovery disputes do not result in any extension of the discovery deadline
                        or trial-ready date, and Judge McMahon must approve any extension of the
                        discovery deadline in non-pro se cases.

                     c.   The Magistrate Judge cannot change discovery deadlines unless you agree to
                          transfer the case to the Magistrate Judge for all purposes. Judge McMahon does
                          not routinely grant extensions so counsel are warned that if they wait until the
                          last minute to bring discovery disputes to the attention of the Magistrate Judge,
                          they may find themselves precluded from taking discovery because they have
                          run out of time.

       10.    A joint pretrial order in the form prescribed in Judge McMahon's Individual Rules,
       together with all other pretrial submissions required by those rules (not including in limine
       motions), shall be submitted on or before September 3, 2026.

                     a.   Following submission of the joint pretrial order, counsel will be notified of
                          the date of the final pretrial conference.

                     b. In liminc motions must be filed within five days of receiving notice of the final
                        pretrial conference; responses to in limine motions are due five days after the
                        motions arc made. Cases may be called for trial at any time following the final
                        pretrial conference.


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    Opening Expert Reports will be served by the party that bears the burden of proof.
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           Page: 4 of 4               2025--03-28 21 :32:06 GMT             18667661678                 From: Matthew Oppenhei
               Case 1:25-cv-01305-CM              Document 31          Filed 04/11/25     Page 3 of 3




                 c.   For bench trials, see Judge McMahon's special rules for bench trials in
                      the Individual Rules.

   11.     No motion for summary judgment may be served after the date the pretrial order is due.
   The filing ofa motion for summary judgment does not relieve the parties of the obligation to.file
   the pretrial order and other pretrial submissions on the assigned date.

  12.    The parties may at any time consent to have this case tried before the assigned
  Magistrate Judge pursuant to 28 U .S.C. § 636(c).

   13.     This scheduling order may be altered or amended only on a showing of good cause that
   is not foreseeable at the time this order is entered. Counsel should not assume that extensions
   will be granted as a matter of routine.


  Dated:         March 28, 2025
                 New York, New York

  Upon consent of the parties:

Isl Scott A. Zebrak                                         Isl R. David Hosp
Scott Zebrak (56201 25)                                     R. David Hosp (2713550)
Jennifer Pariser (2332815)                                  Chris Cariello ( 517 6821)
Yunyi Chen (6037337)                                        ORRICK, HERRINGTON & SUTCLIFFE LLP
OPPENHEIM+ ZEBRAK, LLP                                      51 West 52nd Street
461 5th Avenue, 19th Floor                                  New York, NY 10019
New York, NY 10017                                          Telephone: (212) 506-3778
Telephone: (212) 95 1- 1156                                 Facsimile: (212) 506-5151
scott@oandzlaw.com                                          dhosp@orrick.com
jpariser@oandzlaw.com                                       ccariello@orrick.com
ychen@oandzlaw.com
                                                            Attorneys for Defendant
Meredith Stewart (5 63 9547)
Audrey L. Adu-Appiah (5910252)
OPPENHEIM + ZEBRAK, LLP
4530 Wisconsin Avenue NW, 5th Floor
Washington, DC 200 16
Telephone: (202) 480-2999
rnstewart@oandzlaw.com
aadu-appiah@oandzlaw.com

Attorneys for Plaintiffs




                                                                  Hon. Colleen McMahon


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                                                                  U.S. Districl Judge
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